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15   COMPANY
16
                                     UNITED STATES DISTRICT COURT
17
                                    NORTHERN DISTRICT OF CALIFORNIA
18                                      SAN FRANCISCO DIVISION

19
     UNITED STATES OF AMERICA,                          Case No. 14-CR-00175-WHA
20
                                    Plaintiff,          DECLARATION OF BRIAN J. BIANCARDI
21
                                                        IN SUPPORT OF PACIFIC GAS AND
            V.
22                                                      ELECTRIC COMPANY’S RESPONSE TO
                                                        REQUEST FOR INFORMATION
     PACIFIC GAS AND ELECTRIC COMPANY,
23

24                                 Defendant.

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28                              DECLARATION OF BRIAN]. BIANCARI)I IN SUPPORT OF
                                  PG&E’S RESPONSE RLQULSt FOR INFORMATION
                                            Case No. t4-CR-00175-WIIA
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 1           I, Brian J. Biancardi, declare:
 2           1.      I am a Manager for the Bay Region at Pacific Gas and Electric Company (“PG&E), where
 3   I oversee all vegetation management projects in the North Bay, East Bay, Mission, Diablo, San
 4   Francisco, Peninsula, San Jose and DeAnza Divisions of PG&E’s service territory. I have personal
 5   knowledge of the following matters.
 6           2.      I hold a Bachelor’s degree in Public Affairs from Indiana University and a Master’s
 7   degree in Business Administration from Golden Gate University. I am a certified arborist and project
 8   manager. I received my certificate in arboriculture from the International Society for Arboriculture in

 9   2006, and my certificate in project management from the Project Management Institute in 2009. As

10   required by the International Society of Arboriculture, I complete continuing education credits and obtain
11   recertification every three years.
12           3.      In 2004, I began working as a pre-inspector with ACRT, Inc. (“ACRT”), a national
13   vegetation management consulting firm. My first rotation with ACRT was with Florida Power & Light
14   Company. In 2005, while still at ACRT, I began working as a contract pre-inspector for PG&E. As a

15   pre-inspector, my job was to patrol overhead electrical lines and look for vegetation that could contact

16   electric facilities and potentially impact public safety. In 2006, I became a supervisor at ACRT, at which

17   point I began overseeing pre-inspectors working for PG&E in the East Bay.

18          4.      In 2007, I was hired full-time by PG&E as a Forester, a position now known as
19   Vegetation Program Manager (“VPM”), for the Yosemite Division in PG&E’s Vegetation Management

20   (“VM”) Department.

21          5.      In 2009, I began a rotation as a project manager for PG&E’s pole test and treat program
22   and pole stubbing program. In 2010, I began working in PG&E’s customer care department in San

23   Francisco.

24          6.      In 2014, I returned to PG&E’s VM Department. Since returning to this Department, I
25   have held a number of positions, including as an auditor for the VM Quality Assurance Department, a

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28                              DECLARATION OF BRIAN J. BIANCARDI IN SUPPORI OF
                                  PG&E’S RESPONSE REQUEST FOR INFORMATION
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 1   VPM for the Diablo and East Bay Divisions and a Supervising Vegetation Program Manager (“SVPM”)
 2   for the North Coast. In or around 2016, I became SVPM for the North Bay.
 3           7.      In November 201$, I became Manager of the Bay Region. I have 13 direct reports,
 4   including three SVPMs and ten VPMs.
 5           8.      As stated above, I am responsible for overseeing all vegetation management projects in
 6   the North Bay, East Bay, Mission, Diablo, San Francisco, Peninsula, San Jose and DeAnza Divisions of

 7   PG&E’s service territory. My duties include working with local VPMs and contractors to schedule all
 $   VM work in the Division, ensuring that each project is staffed appropriately, monitoring progress and
 9   ensuring that work is executed in a timely fashion.
10           9.      On January 16, 2019, I was deposed as the person most qualified at PG&E to discuss
11   various topics related to facility protection trees (“FPTs”) identified in five North Bay Vegetation
12   Management Quality Assurance (“QA”) Audits. A true and correct copy of my deposition transcript is
13   attached hereto as Exhibit A.
14           10.     California Public Resource Code Section 4293 and CPUC General Order 95, Rule 35
15   require that all utilities trim or remove all dead or dying vegetation that has the potential to contact

16   electric facilities in the event of failure. To ensure compliance with state law, PG&E performs numerous

17   patrols to identify such trees, which PG&E refers to as “hazard” trees or FPTs. The term FPT is defined

18   in PG&E’s Distribution Routine Patrol Procedure (“DRPP”), Policy No. TD-7102P-01. A true and

19   correct copy of the DRPP is attached hereto as Exhibit B.

20           11.     As stated in Exhibit B, PG&E defines FPTs as all “[t]rees that are dead, show signs of
21   disease, decay or ground or root disturbance, which may fall into or otherwise impact the conductors,

22   towers or guy wires before the next inspection cycle”. Green and healthy trees with no signs of ground

23   or root disturbance are not FPTs. Although FPTs are sometimes referred to as “hazard” trees, not all

24   FPTs pose a risk of potentially igniting a wildfire.

25           12.     In my experience, whether an FPT poses a risk of wildfire depends upon the particular
26   conditions of the tree, including the location of the tree, its proximity to high voltage lines and the

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28                               DECLARA’HON OF BRIAN J. BIANCARDI IN SUPPORT OF
                                   PG&FS RESPONSE REQUEST FOR INFORMA’iiON
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 1   conditions on the ground. for example, an FPT located near a secondary conductor generally poses a
 2   lower fire risk because secondary lines operate at a lower voltage than primary distribution or
 3   transmission lines.
 4           13.       PG&E schedules vegetation management work according to the urgency of the risk posed
 5   by a particular tree. PG&E’s policies clearly dictate the procedures pre-inspectors must follow when
 6   assessing risk.

 7           14.       If a tree presents an immediate or urgent threat, pre-inspectors must follow PG&E’s T&D
 8   Vegetation Management Hazard Notification Procedure, Policy No. TD-7103P-09 (“Hazard Notification
 9   Procedure”). A true and correct copy of this procedure is attached hereto as Exhibit C.
10           15.       The Hazard Notification Procedure provides that if a tree poses an imminent threat and
11   requires immediate action, the pre-inspector or first responder who identified the issue must contact the
12   SVPM or VPM and remain on site until a tree crew arrives to trim or remove the tree. (Exhibit C at
13   PGE-CPUC 00005996.)
14           16.       If a tree or vegetation condition “requires urgent mitigation but does not pose an imminent
15   threat,” the location is identified as a hazard notification (“FIN”) location. The person who identified the
16   FIN location must contact the SVPM or VPM to provide them with notice of the hazard, and may not

17   leave the site until he or she has received affirmative confirmation from either the SVPM or VPM that

18   the notice was received. The SVPM or VPM is responsible for confirming that appropriate work is

19   scheduled to address the issue giving rise to the notification. (Id. at PGE-CPUC 00005994-96.)

20           17.       PG&E’s DRPP explains how a pre-inspector should assign priority work codes to each
21   tree identified during a patrol. Pursuant to the DRPP, if a pre-inspector believes that a tree is unlikely to

22   remain in compliance with regulations before the next scheduled cycle of tree work, that pre-inspector

23   should assign an “Accelerate” priority code to ensure that the work assignment is issued out early.

24   (Exhibit B at PGE-CPUC 00005474.) If a pre-inspector identifies a “fast growing tree [j that may not

25   hold compliance for a full cycle,” he or she should consult with a supervisor to consider potential

26   alternatives prescribed by PG&E policy, including increasing the clearance prescription or seeking
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28                                DEC1ARKJION OF BRIAN 3. BIANCARDI IN SUPPORT OF
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                                               Case No. .14-CR-00175-WIIA
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 1   removal, among other options. (Id. at PGE-CPUC 00005476, PGE-CPUC 00005487-88.) If”no other
 2   alternatives are available,” the pre-inspector should assign a “Bi-annual” cycle code, which triggers
 3   another inspection within the next six months. (Id. at PGE-CPUC 00005476.)
 4           18.    If a tree requires pruning or removal but the pre-inspector believes that it will remain in
 5   compliance until the next scheduled cycle of tree work, the pre-inspector should assign a “Routine”
 6   priority code. If a pre-inspector identifies a trees near secondary conductors, they should assign a
 7   “Routine” priority code. (Id. at PGE-CPUC 00005474.)
 8           19.    As Manager for the Bay Region, I am responsible for monitoring that all vegetation
 9   management work is timely executed in my Divisions. This includes, among other things, tracking all
10   pending tree work.
11          20.     I receive a “pending report” from the office of our Senior Manager on a weekly or
12   biweekly basis that summarizes all outstanding FPT work in each Division of PG&E’s service territory.
13          21.     In addition, I have access to a “Tree Summary Report” through our Vegetation
14   Management Database. PG&E’s Vegetation Management Database houses all vegetation management
15   inspection records and work requests. The inspection records that are maintained in this database are
16   generally created by a pre-inspector using a handheld device at the time of inspection. The work requests

17   maintained in this database, which document completed work, are marked as complete when the

18   contractor submits an invoice and appropriate documentation to PG&E for billing purposes—not when

19   the work is actually completed. The Vegetation Management Database therefore does not register work

20   as “complete” until the contractor has submitted all the required invoicing paperwork.

21          22.     Because the Vegetation Management Database does not track completed work in real
22   time, I also maintain my own spreadsheet to track all carryover trees, which are trees marked for

23   inspection in the prior year that have yet to be worked, in my Divisions.

24          23.     At the beginning of each year, I review the pending report and my own spreadsheet to
25   determine the number of carryover trees in my Divisions. I schedule weekly or biweekly meetings with

26   VPMs and tree crew supervisors to go over a list of carryover trees in my Divisions and discuss an

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28                              DECLARATION OF BRIAN J. BIANCARDI IN SUPPORT OF
                                  PG&E’S RESPONSE REQUEST FOR INFORMATION
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 1   appropriate work schedule. The tree crew supervisors then go into the field to determine the status of
 2   each of the trees discussed and report back to me. In some cases, contractors have informed me that
 3   work was completed but not yet submitted for billing. In other cases, contractors have identified external
 4   issues, such as a customer refusal, terrain issues or environmental concerns, that delay work. In those
 5   situations, I have worked with those contractors to resolve the issue as quickly as possible. Depending
 6   on the volume of carryover trees, I have previously required contractors to attend meetings multiple
 7   times a week. I conduct these regular meetings until all the carryover trees have been worked.
 8           24.     In addition to working directly with contractors, I hold monthly meetings with the SVPMs
 9   and VPMs in my Divisions. During these meetings, I regularly check in on the status of carryover tree
10   work in their local areas.
11           25.     Throughout the year, PG&E conducts annual Quality Assurance (“QA”) audits for State
12   Responsibility Areas (“SRA”) and Local Responsibility Areas (“LRA”) in each of its Divisions. These
13   QA audits are designed to determine whether the conditions in its service territory are consistent with
14   PG&E’s legal obligations. A true and correct copy of the 2016 SRA QA audit for the North Bay

15   Division is attached hereto as Exhibit D.
16          26.     During   my deposition, Mr. Campora marked as Exhibit 007-006 a June 6, 2017 email
17   from Corey Peters noting that over 6,000 fPTs identified for work in 2016 were still outstanding. (See

18   Campora Dccl. Exhibit F-2, Dkt. 1008-7 at 54-55.) The email includes a screenshot taken from PG&E’s

19   Vegetation Management Database. As described above, the Vegetation Management Database does not

20   register work as “complete” until the tree contractor has submitted all required invoicing paperwork.

21   (See supra 21.) In my experience, and as I stated during my deposition, it is common practice among

22   contractors to submit the required invoicing paperwork several months after the work was completed.

23   (See Exhibit A at 70:22-71:8.)

24          27.     After Messrs. Pitre and Campora filed their february 6, 2019 submission, I asked my staff
25   to determine how many of the approximately 6,000 fPTs identified in Exhibit 007-006 were actually
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28                                DECLARATION OF BRIAN]. BIANCARDI IN SUPPOWI OF
                                     PG&E’S RESPONSE REQUEST FOR INFORMATION
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     1   outstanding on June 6, 2017. PG&E’s records indicate that by June 6, 2017, there were
                                                                                               3,962 carryover
     2   FPTs that remained pending.
     3           28.     I also asked my staff to determine how many of the approximately 6,000 FPTs identified
 4       in Plaintiffs’ submission were still outstanding by October 8, 2017, when certain of the
                                                                                                  October 2017
 5       North Bay Wildfires ignited. PG&E’s records indicate that by October 8, 2017, 131 carryo
                                                                                                     ver fPTs
 6       remained pending, and of these, 50 were in divisions affected by the October 2017 North
                                                                                                   Bay Wildfires.
 7               29.   During my deposition, Mr. Campora also marked as Exhibit 007-007 an October 3, 2017
 8       email exchange between Tony Walls and me regarding outstanding tree work in the North
                                                                                               Bay. (See
 9       Campora Decl. Exhibit F-2, Dkt. 1008-7 at 56.) After Messrs. Pitre and Campora filed their
                                                                                                       February 6,
10       2019 submission, I reviewed PG&E’s records to determine the cause of delays referen
                                                                                                ced in Exhibit 007-
11       007. PG&E’s records indicate that the tree at issue in this email was inspected and prescri
                                                                                                     bed for work
12       in 2016, but upon arrival at the site, the crew members who were to perform the work
                                                                                                found that the job
13       required de-energization of the line. The contractor was unable to perform the work during
                                                                                                      this initial
14       visit, but put in a request with the local VPM to schedule a date when the line could be de-energized
                                                                                                               .
15       Because de-energization requires coordination among numerous departments, the job was scheduled
                                                                                                          for
16       October 2, 2017. The job was rescheduled due to a wind storm on October 2, 2017 and was ultimately

17       completed on December 29, 2017.

18               30.     The tree at issue in Exhibit 007-007 (which was located several miles away from any of
19       the October 2017 North Bay Wildfire fire perimeters) presented a low potential for wildfire ignition

20       because it was in the vicinity of a secondary conductor, which operates at a lower voltage than primary

21       distribution or transmission lines and therefore poses a lower risk of ignition if contact occurs. Further,

22       the tree was located in a Tier 1 area, which presents a lower fire risk than Tier 2 or Tier 3.
23               31.     On March 30, 2018, PG&E submitted its amended response to the CPUC’s November 21,
24       2017 Data Request, Question 69. That response stated that there are no records of pending tree work at

25       any of the incident locations associated with the October 2017 North Bay Wildfires. Attached hereto
                                                                                                             as
26       Exhibit E is a true and correct copy of PG&E’s Response to Question 69.

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                                        PG&I.S RESPONSE REQUEST FOR INFORMATION
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